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 8
 9                                   UNITED STATES DISTRICT COURT

10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                        Cr. No. S-10-347
13                      Plaintiff,                  AMENDED STIPULATION CONTINUING
                                                    SENTENCING; ORDER
14          v.
                                                    Sept 10, 2015 at 9 AM before Judge England
15   IMESH PERERA, et al
16
                        Defendants.
17
18
19          Imesh Perera by his attorney J Toney and the U.S. Attorney’s Office by Assistant U.S.

20   Attorney Jill Thomas stipulate that the presently set sentencing date in this case of June 11, 2015

21   be continued to September 10, 2015. This stipulation is at the request of the Defendant and his

22   Attorney and is due to scheduling difficulties and the Defendant’s continued employment.

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 1   Probation Officer Shannon Morehouse has been advised of this request and has no objection to it.
 2   The parties respectfully request the Court so order.
 3   Dated May 31, 2015
 4    /s/ Jill Thomas                                          /s/_J Toney
 5     JILL THOMAS                                             J TONEY
 6    Assistant U.S.Attorney                                  Attorney for Defendant
 7
 8          IT IS SO ORDERED.
 9   Dated: June 8, 2015

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